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   11 Wells Fargo Bank N.A.

   12                       UNITED STATES DISTRICT COURT
   13                    SOUTHERN DISTRICT OF CALIFORNIA
   14
        FEDERAL TRADE                        CASE NO. 18-cv-1388-LAB-LL
   15 COMMISSION,
                                             Judge: Hon. Larry Alan Burns
   16              Plaintiff,
   17        v.                              PROPOSED INTERVENORS WELLS
                                             FARGO & COMPANY AND WELLS
   18 TRIANGLE MEDIA                         FARGO BANK N.A.’S OMNIBUS
        CORPORATION;                         REPLY IN SUPPORT OF ITS
   19 JASPER RAIN MARKETING LLC;             MOTION TO INTERVENE
        HARDWIRE INTERACTIVE INC;
   20 GLOBAL NORTHERN TRADING                Date: January 24, 2022
      LIMITED; BRIAN PHILLIPS; and           Time: 11:15 a.m.
   21 DEVIN KEER,                            Ctrm: 14A
   22
                   Defendants.
   23

   24

   25

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    1 I.     INTRODUCTION
    2        Wells Fargo’s Motion to Intervene (“Motion”) establishes that it should be
    3 granted intervention, as of right or by permission of this Court. It is indisputable that

    4 this Court referenced only one section of the FTC Act when addressing its authority

    5 to appoint a Receiver: Section 13(b). It is equally indisputable that this Court’s order

    6 appointing the Receiver cites to only one section of the FTC Act: 13(b). The

    7 Supreme Court in AMG Capital found that Circuit Courts, including the Ninth

    8 Circuit in that very case, erroneously had interpreted the scope of equitable authority

    9 under Section 13(b), which is statute specific, and held that Section 13(b) could not

   10 serve as the basis of monetary relief. The Receiver, appointed pursuant to Section

   11 13(b), has sued Wells Fargo to backfill monetary judgments that were imposed

   12 pursuant to Section 13(b). Wells Fargo has satisfied the requirements of intervention

   13 and has a due process right to challenge the orders issued in this case—which are

   14 now known to be unlawful—that authorize the Receiver to pursue monetary

   15 damages against it to be used for what the FTC has acknowledged to be “an integral

   16 part of their [i.e., the Defendants] respective judgments.” FTC’s Opposition to Wells

   17 Fargo’s Motion to Intervene (“FTC Opp.”) at 5.

   18        Wells Fargo’s Motion is clear that it is only seeking intervention to challenge
   19 the continuing viability of the orders issued in this case allowing the Receiver to

   20 pursue litigation against Wells Fargo. In a misguided effort to short-circuit full

   21 consideration of the merits of its proposed underlying motion, the FTC and the

   22 Receiver interject misframed merits arguments, distort the timeline in challenging

   23 the timeliness of Wells Fargo’s motion, and argue that Wells Fargo does not have a

   24 protectable interest in challenging orders that are targeted directly at it (the FTC

   25 even argues that Wells Fargo lacks standing to seek intervention). The FTC and

   26 Receiver’s arguments do not change the fact that intervention is warranted for the

   27 following five reasons:

   28
                                                  1
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    1            First, the FTC and Receiver’s focus on the underlying record are transparent
    2 attempts to argue, at length, merits issues not before the Court at this stage. By

    3 doing so, the FTC and Receiver highlight significant merits issues that require full

    4 briefing and resolution by this Court, underscoring the importance that intervention

    5 be granted.

    6            Second, contrary to the FTC and Receiver’s assertions, Wells Fargo’s Motion
    7 is timely as it was brought within four months of when it acquired standing.

    8            Third, Wells Fargo’s protectable interest is not simply the “right not to be
    9 sued” but its right not to have an unlawful order applied against it. Moreover,

   10 neither the FTC nor the Receiver will adequately protect Wells Fargo’s interests.

   11            Fourth, Wells Fargo must seek redress from this Court because the collateral
   12 attack doctrine bars it from challenging this Court’s order in another court or

   13 another matter, including the separate Wells Fargo Litigation the Receiver filed.

   14            Finally, Wells Fargo has met its burden for permissive intervention because
   15 its Motion is timely, clearly shares common questions of law and fact with the

   16 underlying litigation, and will not unnecessarily expand this Court’s jurisdiction.

   17 II.        ARGUMENT1
   18            When evaluating the factors for intervention, the “courts are guided primarily
   19 by practical and equitable considerations, and the requirements for intervention are

   20 broadly interpreted in favor of intervention.” United States v. Alisal Water Corp.,

   21 370 F.3d 915, 919 (9th Cir. 2004). “Courts are to take all well-pleaded,

   22 nonconclusory allegations in the motion to intervene, the proposed complaint or

   23 answer in intervention, and declarations supporting the motion as true absent sham,

   24 frivolity or other objections.” Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d

   25

   26
        1
            FTC v. Apex Capital Group, LLC, et al., Case No. 3:18-cv-01388-lAB-LL (S.D.
   27 Cal.) (“Apex”), has no bearing on this case and is not properly before this Court. The
        Apex action involved entirely different parties, different schemes, and different
   28 charges by the FTC.
                                                     2
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    1 810, 820 (9th Cir. 2001).

    2        A.     The Court Appointed the Receiver Pursuant to Section 13(b)
    3        The record in this case is clear that the only section of the FTC Act that the
    4 Court relied on in appointing the Receiver is Section 13(b). Dkt. 11 (“This Court has

    5 authority to issue this Order pursuant to Section 13(b) of the FTC Act, 15 U.S.C. §§

    6 53(b), Fed. R. Civ. P. 65; and the All Writs Act, 28 U.S.C. § 1651.”). The FTC and

    7 Receiver cannot legitimately dispute that the FTC sought damages under Section

    8 13(b) and that the decision in AMG Capital that monetary damages are not

    9 recoverable stemmed from the Supreme Court’s recognition of the limited grant of

   10 equitable authority under Section 13(b). Dkt. 168 (“Rec. Opp.”) at 3-7; FTC Opp. at

   11 2-8. Moreover, neither the FTC nor the Receiver can contest that the FTC never

   12 expressly pled Section 19, that it entered into “no fault” settlements, and that this

   13 Court did not make any specific finding of a ROSCA-based rule violation either at

   14 settlement or when closing the case as to the underlying parties. Stated differently,

   15 the FTC and the Receiver’s claim that the record plainly establishes that the

   16 government proceeded under Section 19 is not supported by the record.

   17        On the contrary, this claim highlights why full briefing on the merits is
   18 required. For instance, the FTC and Receiver both cite to the district court decision

   19 in Cardiff to support their claims that a ROSCA claim brought under Section 19 can

   20 be the basis of monetary recovery post-AMG Capital. FTC Opp. at 7; Rec. Opp. at

   21 5-6. They omit the most critical facts, however, as Section19 was both pled and

   22 proved in summary judgment in Cardiff – and more importantly, that the court still

   23 precluded monetary recovery because the FTC initially had sought damages under

   24 Section 13(b) and had not timely provided the requisite expert disclosures to support

   25 an independent damage award under Section 19. FTC v. Cardiff, No. ED CV 18-

   26 2104-DMG (PLAx), 2021 U.S. Dist. LEXIS 155342, at *19 (C.D. Cal. June 29,

   27 2021). Cardiff, therefore, more accurately demonstrates how efforts by the FTC to

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    1 recast their cases as salvageable under Section 19 rely on facts, nuance, procedural

    2 posture and judicial discretion. Upon full briefing, Wells Fargo will explain how all

    3 of these considerations dictate against making such a finding in this case.

    4        B.     Wells Fargo Has Met Its Burden Establishing the Factors to
    5
                    Intervene as a Matter of Right

    6               (1)   Wells Fargo’s Motion to Intervene is Timely
    7        The instant motion is timely for several reasons. Contrary to the FTC and
    8 Receiver’s arguments, this case is not yet closed for purposes of determining the

    9 scope of the Receiver’s authority. Further, it was not until July 8, 2021, that Wells

   10 Fargo’s protectable interest arose. Once Wells Fargo’s protectable interest arose, it

   11 moved promptly to intervene by filing this Motion just four months after the

   12 Receiver brought his action against Wells Fargo.

   13                     i.     The Court Expressly Retained Jurisdiction Over
   14                            Matters Related to the Receivership

   15        Both the FTC and the Receiver argue Wells Fargo’s motion is untimely
   16 because the case was administratively closed on November 19, 2019, after the Final

   17 Stipulated Judgments were entered on May 30, 2019. FTC Opp. at 11; Rec. Opp. at

   18 19. However, the case is not closed as to the issues presently before the Court. The

   19 Court administratively closed the proceedings between the FTC and the Defendants,

   20 but expressly retained jurisdiction over “matters related to the Receivership or

   21 enforcement of the Court’s judgments, filings and other proceedings in this matter.”

   22 Dkt. 142 at 3; Mot. at 7. Thus, the case is still open for the purpose of determining

   23 the Receiver’s authority to prospectively seek recovery of a monetary judgment

   24 against Wells Fargo following the decision in AMG Capital. Given that the case is

   25 open for this express purpose and the triggering events providing the basis for Wells

   26 Fargo’s claim only recently occurred, it is entirely appropriate that Wells Fargo

   27 bring this motion at this stage of the proceedings.

   28
                                                 4
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    1        The FTC further argues that intervention would “cause the Court to relitigate
    2 the stipulated judgments and the order authorizing the Receiver to hire counsel . . .

    3 merely to thwart a remedy rather than participate in the future administration of the

    4 remedy.” FTC Opp. at 11. This simply is not true. As Wells Fargo made clear, it is

    5 not attempting to disrupt the underlying final judgments. Rather, it seeks to

    6 intervene only to challenge the orders giving the Receiver the authority to pursue

    7 litigation against Wells Fargo.

    8                      ii.   The FTC and Receiver’s Misframed Timeliness
    9
                                 Arguments Should Be Rejected

   10        Both the FTC and the Receiver argue that Wells Fargo’s Motion is untimely,
   11 claiming Wells Fargo was somehow “on notice” before either the issuance of the

   12 Supreme Court’s AMG Capital decision in April 2021 or being sued by the Receiver

   13 in July 2021. This simply ignores the fact that, until AMG Capital, 25 years of

   14 controlling Ninth Circuit precedent interpreted the scope of equitable relief under

   15 Section 13(b) as permitting recovery of monetary damages. See e.g. FTC v. AMG

   16 Cap. Mgmt., LLC, 910 F.3d 417 (9th Cir. 2018) (overturned Ninth Circuit decision

   17 affirming the district court had the power to order equitable monetary relief under

   18 Section 13(b)). The idea that Wells Fargo had any basis to intervene before AMG

   19 Capital (or before being sued) fails to pass the straight-face test. The question of

   20 timeliness begins as of July 8, 2021, when the Receiver sued Wells Fargo, seeking

   21 prospective recovery of monetary damages based on the equitable monetary

   22 judgments awarded to the FTC as part of the underlying Section 13(b) proceeding. It

   23 was only then that an actionable dispute warranting intervention arose.

   24                            a.     An Administrative Subpoena is Not Adequate
                                        Notice that its Interests Could be Affected
   25

   26        The FTC argues Wells Fargo should have been on notice its interests could be

   27 affected on either of two dates it responded to subpoenas: 2017 (FTC administrative

   28 subpoena identifying accounts that had been opened under multiple corporate
                                               5
        PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S OMNIBUS
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    1 names) or 2019 (Receiver subpoena seeking information about accounts in Apex).

    2 FTC Opp. at 12-13. This reasoning leads to an absurd result. A bank cannot be

    3 expected every time it receives a subpoena to anticipate that its interests would be

    4 affected and file a motion to intervene in the underlying action. Doing so would

    5 impose a needless burden on banking institutions and the courts alike. There is no

    6 dispute Wells Fargo would have had no basis to intervene pre-AMG Capital. See

    7 FTC Opp. at 8 (arguing Wells Fargo currently has no standing even after AMG

    8 Capital).

    9                            b.     Wells Fargo Was Not On Notice in October of
   10
                                        2019 or in April of 2020

   11        The FTC and Receiver proffer a number of different pre-AMG Capital dates
   12 they argue should serve as the marker for evaluating timeliness: May 30, 2019,

   13 when the stipulated judgments were entered; October 22, 2019, when the Receiver

   14 filed his motion for “authorization to engage contingency counsel and made public

   15 his intent to pursue claims against Wells Fargo on behalf of the Receivership

   16 Entities;” April 1, 2020, when the Receiver sent Wells Fargo a draft complaint; or

   17 April 2021, when the Supreme Court issued its decision in AMG Capital. FTC Opp.

   18 at 14; Rec. Opp. at 14-15.

   19        Wells Fargo did not have a basis to intervene until both: (1) the Supreme
   20 Court’s April 2021 decision finding the FTC lacked authority to obtain equitable

   21 monetary relief under Section 13(b) of the FTC Act, and (2) the Receiver’s lawsuit

   22 against it in July 2021 seeking to prospectively recover monetary judgments that

   23 were awarded as part of the underlying Section 13(b) proceedings notwithstanding

   24 AMG Capital. It was only at this juncture that an actionable dispute warranting

   25 intervention arose. Given this recent material change in circumstance, it is

   26 appropriate for Wells Fargo to file its intervention motion at this time. Perry v.

   27 Proposition 8 Off. Proponents, 587 F.3d 947, 950 (9th Cir. 2009) (“An applicant as

   28
                                                  6
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    1 of right must…have a significantly protectable interest”) (citing Arakaki v.

    2 Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003).

    3        Furthermore, the FTC’s position that Wells Fargo should have intervened as
    4 early as October 2019 is contradicted by its own argument that Wells Fargo lacks

    5 standing to intervene as this juncture. FTC Opp. at 8. In support of its standing

    6 argument, the FTC argues Wells Fargo’s injury is far too speculative to confer

    7 standing to intervene, as it is not certain that it will have to pay a monetary judgment

    8 and litigation costs in the action against the Receiver. Id. If Wells Fargo purportedly

    9 lacks standing to intervene at this stage, it defies logic as to how it would have been

   10 able to intervene in October 2019, as the FTC and Receiver claim it ought to have.

   11        The FTC and Receiver cite Zurixx and Noland for the proposition that a
   12 motion to intervene based on AMG Capital is insufficient. Rec. Opp. at 10, 16, 17;

   13 FTC Opp. at 6, 18. Zurixx and Noland are factually and legally inapposite. The

   14 proposed intervenors in Zurixx and Noland sought to intervene on the grounds that

   15 the AMG Capital decision created their respective interests. However, both of those

   16 courts noted that the proposed intervenors’ protected interests were present months

   17 before the AMG Capital decision was issued. In Zurixx, the proposed intervenors

   18 argued the underlying litigation disrupted their access to defendant’s resources and

   19 services. FTC v. Zurixx, LLC, No. 2:19-CV-00713-DK-DAO, 2021 WL 3510804, at

   20 *2 (D. Utah Aug. 10, 2021). The Court found the proposed intervenors’ interests

   21 arose when the receiver suspended the defendant’s operations, and so a motion

   22 seeking to intervene 18 months thereafter was untimely. Id. at *14. Since the

   23 proposed intervenors’ protected interest arose well before AMG Capital was

   24 decided, the intervenors could not rely on that decision as basis for their intervention

   25 motion. Id. In Noland, the proposed intervenors filed a renewed motion to intervene

   26 based on AMG Capital after their initial intervention motion was found untimely.

   27 FTC v. Noland, No. CV-20-00047-PHX-DWL, 2021 WL 3290461, at *3 (D. Ariz.

   28 Aug. 2, 2021). The Noland court held the decision in AMG Capital did not cure the
                                               7
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    1 untimeliness plaguing the proposed intervenors’ first motion to intervene. Id. at *3.

    2 In both Zurixx and Noland, AMG Capital was unrelated to the proposed intervenors’

    3 protected interest or discovery thereof. By contrast, Wells Fargo’s protected interest

    4 in the underlying litigation did not arise until after the Receiver sued Wells Fargo

    5 and the Supreme Court decided AMG Capital, affecting the viability of the orders

    6 allowing the Receiver to pursue litigation against Wells Fargo. Wells Fargo sought

    7 to intervene shortly after those events.

    8                            c.     Intervening Within Four-Months Does Not
    9
                                        Warrant a Finding of Untimeliness

   10        The FTC and the Receiver argue Wells Fargo could also have intervened after
   11 July 8, 2021, the date the Receiver filed his complaint, or after July 23, 2021, the

   12 date the Receiver filed a motion to extend the receivership deadline in Apex, and

   13 that Wells Fargo’s filing to intervene four months later is untimely. These

   14 arguments are unavailing because there was good reason Wells Fargo needed the

   15 time before filing its Motion.

   16        Wells Fargo took the necessary time to investigate and assess the strengths of
   17 its arguments in connection with this intervention. As part of this process, Wells

   18 Fargo discussed the scope of the issues with the FTC, further investigated the issues

   19 raised by the agency, and modified the scope of this intervention request. The Court

   20 should not fault Wells Fargo for conferring with the FTC and Receiver in an effort

   21 to resolve issues, considering the issues raised by the FTC, and being judicious in

   22 seeking intervention.

   23        In arguing Wells Fargo’s motion is untimely because a mere four months
   24 passed after the Receiver’s complaint was filed, the Receiver relies on non-binding

   25 and out-of-circuit authority. Rec. Opp. at 11, 13. In doing so, the Receiver ignores

   26 Ninth Circuit cases finding intervention timely even though the moving party knew

   27 of its protectable interest for more than the four months at issue here. See e.g. Day v.

   28 Apoliona, 505 F.3d 963 (9th Cir. 2007) (granting intervention even though the
                                               8
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    1 action commenced two years prior); U.S. v. Oregon, 745 F.2d 550, 551-52 (9th Cir.

    2 1984) (finding district court abused its discretion in denying intervention given a

    3 change of circumstance even though the case began 15 years earlier); Sage

    4 Electrochromics, Inc. v. View, Inc., No. 12-CV-06441-JST, 2013 WL 6139713, at

    5 *3 (N.D. Cal. Nov. 21, 2013) (finding the seven-month delay after discovering

    6 interests affected “not extraordinary” and granting motion to intervene); Jordan v.

    7 Nationstar Mortg., LLC, No. 2:14-CV-0175-TOR, 2016 WL 7494297, at *2 (E.D.

    8 Wash. Oct. 14, 2016) (granting intervention even though the action commenced four

    9 years prior because a Washington State Supreme Court decision was a change of

   10 circumstance that for the first time concretely threatened to interfere with the

   11 intervenors’ interests). A “delay” of four months in no way prejudiced other parties

   12 as nothing had transpired in the case following July 2021. Therefore, it makes no

   13 difference to the other parties if Wells Fargo intervened in July 2021 or November

   14 2021—particularly considering the FTC and Receiver claim the case is closed.

   15        Further, there was no “strategic” advantage related to the timing when Wells
   16 Fargo filed its Motion. Rec. Opp. at 18-19. The Receiver complains that Wells

   17 Fargo filed this Motion to Intervene after the motion to dismiss briefing was

   18 completed in the separate civil action it filed against Wells Fargo, and that the

   19 motion to dismiss was somehow part of Wells Fargo’s tactical motivation. However,

   20 had Wells Fargo filed its Motion to Intervene the same day as its motion to dismiss

   21 the civil action, Wells Fargo suspects the Receiver would have complained about

   22 that too. Additionally, the Receiver’s argument that Wells Fargo is “forc[ing] the

   23 Receiver to expend Estate resources litigating two motions, across two separate

   24 actions, in addition to pursuing his case against Wells Fargo” [Rec. Opp. at 20] is

   25 unavailing. This Court granted the Receiver’s request to engage contingency

   26 counsel so that the receivership estate’s funds would not be used. Dkts. 136-1

   27 (Receiver requesting permission to engage contingency counsel to “shift the risk

   28 away from the Receivership Estate”); 142 (order authorizing Receiver to engage
                                              9
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    1 contingency counsel). As explained throughout this brief, the collateral attack

    2 doctrine requires Wells Fargo to challenge this Court’s orders here, where the order

    3 was issued.

    4            The Receiver cites R & G Mortg. Corp. v. Fed. Home Loan Mortg. Corp., for
    5 the proposition that a two-and-a-half-month delay was unreasonable. 584 F.3d 1, 8-

    6 10 (1st Cir. 2009). However, in R & G Mortg. Corp, the Court found the proposed

    7 intervenors were aware, before the consummation of the settlement, but did nothing,

    8 instead they sought to disrupt the settlements after they were finalized causing

    9 disruption and harm to the original parties. Similarly, in Banco Popular de Puerto

   10 Rico v. Greenblatt, 964 F.2d 1227, 1231 (1st Cir. 1992), the proposed intervention

   11 would have prejudiced the parties who had spent significant amounts of time,

   12 money and effort to negotiate settlement terms embodied in the final judgment

   13 where the proposed intervenors were fully aware of the potential hazards and likely

   14 consequences of inaction three months prior but failed to act. Id. In contrast, Wells

   15 Fargo does not seek to disturb the underlying judgments against Defendants and

   16 solely seeks to address the issue of the Receiver’s authority to pursue monetary

   17 damages against the bank.2

   18

   19

   20

   21

   22
        2
         The Receiver also cites Nat’l Ass’n for Advancement of Colored People v. New York,
   23 for the proposition that an applicant who procrastinated for 18 days was untimely. 413
        U.S. 345, 367-68 (1973). But that case is factually inapposite since the motion to
   24 intervene was denied because intervention “possessed the potential for seriously
        disrupting the State’s electoral process” and would jeopardize the impending primary
   25 elections for Assembly, Senate, and Congressional elections as well Democratic
        National Convention delegates. Id. at 363, 369. Lewis v. First Am. Title Ins. Co., fares
   26 not better since there the court denied a motion to intervene because the proposed
        intervenors conceded they had tactically decided not to proceed in that court earlier
   27 No. 1:06-CV-478-EJF-LMB, 2010 WL 3735485 (D. Idaho Aug. 5, 2010) (proposed
        intervenors sought to proceed in Michigan first as a tactical choice and only sought
   28 intervention after the Michigan plaintiff claims were dismissed).
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    1                       iii.   Wells Fargo Could Not Have Challenged the
    2
                                   Receiver’s Authority to Pursue Monetary Damages in
                                   the Receiver’s Action
    3
              The Receiver argues Wells Fargo should have challenged the Receiver’s
    4
        authority to seek monetary damages when it filed its motion to dismiss in the
    5
        Receiver’s case and speculates that Wells Fargo’s decision to wait to pursue
    6
        intervention was motivated by “some tactical advantage in refraining from diligently
    7
        pursuing intervention” and to seek intervention in the instant matter before the Apex
    8
        matter. Rec. Opp. at 13. But if Wells Fargo had asked the Court to dismiss the
    9
        Receiver’s action based on the AMG Capital decision, that effort would have
   10
        amounted to an impermissible collateral attack. Rein v. Providian Fin. Corp., 270
   11
        F.3d 895, 902 (9th Cir. 2001) (the “collateral attack doctrine precludes litigants from
   12
        collaterally attacking the judgments of other courts.”). Wells Fargo had no option
   13
        but to intervene in this action.
   14
                     (2)    The FTC and the Receiver Will Not Suffer Prejudice as a
   15
                            Result of Wells Fargo’s Motion
   16
              Contrary to the FTC and Receiver’s arguments, no party will suffer prejudice
   17
        as a result of Wells Fargo’s intervention into this case. “[T]he only ‘prejudice’ that
   18
        is relevant under this factor is that which flows from a prospective intervenor’s
   19
        failure to intervene after he knew, or reasonably should have known, that his
   20
        interests were not being adequately represented—and not from the fact that
   21
        including another party in the case might make resolution more ‘difficult.’” Scholl v.
   22
        Mnuchin, No. 20-CV-05309-PJH, 2021 WL 84487, at *4 (N.D. Cal. Jan. 11, 2021)
   23
        (citing Smith v. Los Angeles Unified Sch. Dist., 830 F.3d 843, 857 (9th Cir. 2016)).
   24
              As explained throughout this Reply, Wells Fargo promptly brought its motion
   25
        to intervene following the issuance of AMG Capital and the Receiver’s filing of the
   26
        Wells Fargo Litigation. Neither the FTC nor Receiver identify any prejudice
   27
        flowing from a failure to intervene before AMG Capital was decided. Instead they
   28
                                                  11
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    1 focus on arguments unrelated to the timing of Wells Fargo’s motion to intervene

    2 following its discovery.

    3        The Receiver argues Wells Fargo’s intervention would significantly prejudice
    4 him because: (1) Wells Fargo could have raised its challenges in the Wells Fargo

    5 Litigation, (2) the Motion burdens two separate District Courts with motions to

    6 intervene, and (3) forces the Receivership to extend estate resources litigating two

    7 motions in two separate actions in addition to his civil litigation against Wells

    8 Fargo. Rec. Opp. at 20. The Receiver’s arguments ignore the collateral attack

    9 doctrine. Had Wells Fargo attempted to challenge the viability of the order

   10 authorizing the Receiver to sue it based upon AMG Capital, the Receiver would

   11 have argued—rightly—that it was an impermissible collateral attack on a judgment.

   12 Wells Fargo chose to bring this Motion because it is the proper vehicle for raising its

   13 arguments concerning the scope of the Receiver’s authority.

   14        Further, the Receiver would have had to respond to Wells Fargo’s arguments
   15 regarding the limits of his authority regardless of whether those arguments were

   16 raised in a motion to dismiss or in this Motion. Put differently, it would have made

   17 no difference to the Receiver in terms of time and expense in addressing Wells

   18 Fargo’s arguments because the Receiver would have had to address Wells Fargo’s

   19 arguments regarding the limits of the Receiver’s authority in any event—either at

   20 this juncture or in the Wells Fargo Litigation (notwithstanding the collateral attack

   21 doctrine) and so the professed prejudice does not exist.

   22        Separately, the FTC argues it would be prejudiced because: (1) the case has
   23 been concluded and the FTC has obtained final judgments; (2) it would force the

   24 FTC to litigate claims that Wells Fargo could have raised earlier; and (3) the FTC

   25 would be forced to engage in duplicative litigation to amend the judgments which

   26 would also have delay and threaten redress for defrauded customers. FTC Opp. at

   27 16. The FTC’s first argument falls flat because Wells Fargo is not challenging the

   28 Final Stipulated Judgments except as applied to Wells Fargo or seeking to unravel
                                              12
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    1 the agreements made between the FTC and the Defendants. As Wells Fargo made

    2 clear in its Motion, it only seeks to challenge the order affecting the Receiver’s

    3 ability to pursue a monetary judgment against Wells Fargo. Indeed, if Wells Fargo

    4 were successful in challenging the Receiver’s authority to pursue recovery of the

    5 monetary judgment against it, there would be no impact to the FTC’s ability to

    6 enforce the Final Stipulated Judgments against the Defendants who settled. Second,

    7 Wells Fargo could not have moved to intervene earlier. Cf. FTC Opp. at 8-9 (FTC

    8 argues Wells Fargo lacks standing at this juncture because its injury is too

    9 speculative.). If Wells Fargo had moved to intervene before AMG Capital was

   10 decided or before the Receiver filed the action against Wells Fargo, the FTC’s

   11 standing argument may have had merit. Any resources expended addressing this

   12 motion are the result of the FTC having obtained unlawful orders and therefore any

   13 resulting hardships cannot be deemed unfair prejudice to the FTC or the Receiver.

   14 Wells Fargo’s intervention at this juncture, for a limited purpose, has no bearing on

   15 what the FTC should have done, but did not do, earlier in this case. Any effort

   16 needed to correct the record is a result of the FTC’s failure to properly prosecute this

   17 case. Any cause for re-opening closed issues will be the result of the FTC’s new

   18 “alternate” path argument for recovery under ROSCA, despite no existing record in

   19 the case establishing ROSCA violations or damages.

   20        To the extent the FTC predicates its prejudice argument on the fact that it
   21 would be precluded from pursuing monetary damages against Wells Fargo, such an

   22 argument cannot stand. As stated at length above, the Supreme Court has since

   23 clarified that Section 13(b) is an impermissible avenue for the FTC to recover

   24 monetary damages against the bank. Thus, any attempt by the FTC, through the

   25 Receiver and this Court, to make an end-run around the FTC Act by pursuing a

   26 monetary judgment against Wells Fargo cannot amount to prejudice.

   27

   28
                                                 13
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    1                  (3)   Wells Fargo Has Established a Protectable Interest and That
    2
                             Its Interests Cannot and Will Not Be Adequately Protected

    3            While the Receiver correctly quotes Wells Fargo’s protectable interest as “not
    4 having to defend itself against litigation that this Court authorized based on an

    5 invalidated legal principle,” he mischaracterizes this by narrowing the interest to

    6 simply a “right not to be sued,” which sidesteps the crux of the issue here. Rec. Opp.

    7 at 21. Wells Fargo’s protectable interest is not simply the “right not to be sued,” but

    8 its right not to have an unlawful order applied and enforced against it. As explained

    9 in Wells Fargo’s Motion, Wells Fargo seeks to challenge the order permitting the

   10 Receiver to pursue litigation against Wells Fargo for more than $160 million in

   11 monetary damages that this Court ordered pursuant to Section 13(b) and the

   12 Supreme Court has since clarified is an impermissible avenue for the FTC to recover

   13 monetary damages. Accordingly, there is no question Wells Fargo has a protectable

   14 interest in not having unlawful conduct pursued against it by the government and
                               3
   15 sanctioned by this Court.

   16            The FTC argues Wells Fargo does not have a significantly protectable interest
   17 here because its injury is too speculative to confer standing and a favorable decision

   18 would not redress its injury in fact. FTC Opp. at 19 (incorporating FTC Opp.

   19 Section II). Yet in the same brief, the FTC contends Wells Fargo should have

   20 intervened in 2019 because it somehow had standing and a protectable interest then

   21 (but not now). Id. at 12-15. The FTC incorporates its same merit-based arguments to

   22 argue that Wells Fargo does not have a protectable interest because it can salvage

   23
        3
   24    With the Receiver and FTC’s new “alternate” theory of recovery under ROSCA,
        Wells Fargo has a protectable interest in not having an unlawful order pursued or
   25   enforced against it: (i) for rule violations under ROSCA, which violations have not
        been established in this case, and (ii) for recovery of damages for unestablished rule
   26   violations that grossly exceed the monetary damages permitted for ROSCA
        violations. Furthermore, because Wells Fargo’s protectable interest arises from the
   27   order issued by this Court, it is appropriate for Wells Fargo to intervene in this case
        as a matter of right. Due to the collateral attack doctrine, as described in Section
   28   III.D.2, infra, this is Wells Fargo’s only forum to challenge the order.
                                                   14
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    1 the judgments through Section 19 or ROSCA, and that AMG Capital does not alter

    2 anything because it only changed one remedy available to the FTC under the FTC

    3 Act and thus can have no impact on the ability of a receiver to pursue claims against

    4 a bank outside of the FTC Act.4 Id. at 19-20.

    5            Wells Fargo’s harm is not the speculative economic harm that may result
    6 from the litigation. The FTC cites to a district-level opinion to support its claim that

    7 Wells Fargo does not have standing based upon litigation costs. FTC Opp. at 9, 17

    8 (citing San Diego Unified Port Dist. v. Monsanto).5 But in Monsanto, the court

    9 found that the defendant could not manufacture standing predicated on litigation

   10 costs by bringing counterclaims and speculative potential liability. San Diego

   11 Unified Port Dist. v. Monsanto Co., 309 F. Supp. 3d 854, 865-868 (S.D. Cal. 2018)

   12 (“An organization suing on its own behalf . . . cannot manufacture the injury by

   13 incurring litigation costs or simply choosing to spend money fixing a problem that

   14 otherwise would not affect the organization at all.”). Indeed, litigation expenses can

   15 confer Article III standing where the litigation is not manufactured to create

   16

   17
        4
          Wells Fargo has established Article III standing to intervene. To have standing, a
        party must “allege personal injury fairly traceable to the defendant’s allegedly
   18   unlawful conduct and likely to be redressed by the requested relief.”
        DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 (2006); see also E. Bay
   19   Sanctuary Covenant v. Biden, 993 F.3d 640, 665 (9th Cir. 2021) (standing requires
        injury to an interest that the law protects). A litigant must have a colorable claim to
   20   satisfy Article III. Id. at 664-665 (“Whether a party has sufficient statutory or
        otherwise legal basis for their claims is irrelevant at this threshold [stage analyzing
   21   standing]”); Warth v. Seldin, 422 U.S. 490, 500 (1975) (“[S]tanding in no way
        depends on the merits of the plaintiff's contention that particular conduct is
   22   illegal....”). Here, the FTC only challenges the injury and redressability factors, but
        Wells Fargo has satisfied both. FTC Opp. at 8-10. As expanded upon in detail
   23   throughout the opening brief and in this Reply, Wells Fargo has established that it
        (1) has suffered an injury resulting from the unlawful order permitting the Receiver
   24   to pursue litigation against it, as well as the resulting reputational harm and litigation
        costs incurred from this lawsuit; and (2) this Court has the authority to provide full
   25   or partial redress to Wells Fargo by correcting the unlawful order, which would cure
        the due process deficiencies and extinguish entirely, or in part, the basis for the
   26   Receiver’s litigation against it, while also lessening litigation costs and repairing
        reputational harm. See Section I.B.3 and 4.
   27   5
          The FTC also cites to Friends of the Earth v. Sanderson Farms, Inc., 992 F.3d 854,
        866-867 (S.D. Cal. 2018), but it is inapposite because it deals with organizational
   28   standing.
                                                   15
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    1 standing. Nnebe v. Daus, 644 F.3d 147, 157 (2d Cir. 2011) (holding that

    2 organization’s standing was not “manufactured” where organization suffered injury

    3 as a result of litigation brought against one of its members); see also Project

    4 Sentinel v. Evergreen Ridge Apartments, 40 F. Supp. 2d 1136, 1140 (N.D. Cal.

    5 1999) (litigation expenses that are a secondary manifestation of the primary injury

    6 inflicted by the defendant’s practices confers Article III standing); Havens Realty

    7 Corp v. Coleman, 455 U.S. 363, 379 (1982) (drain on an organization’s resources to

    8 counteract the effect of defendant’s allegedly illegal practices on the organization’s

    9 services confers Article III standing). Here, Wells Fargo is not attempting to

   10 manufacture standing out of the litigation costs it will incur as the result of the Wells

   11 Fargo Litigation. Rather, Wells Fargo’s injury here is the unlawful order permitting

   12 the Receiver to pursue litigation against Wells Fargo and the resulting reputational

   13 harm and litigation costs foisted upon it as it is being forced to defend itself against

   14 these actions – all of which Wells Fargo has already suffered as the result of the

   15 Receiver’s filing of the Wells Fargo Litigation. See Mot. at 11, 16; see also

   16 TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2200 (2021) (“Central to assessing

   17 concreteness [for Article III standing] is whether the asserted harm has a ‘close

   18 relationship’ to a harm traditionally recognized as providing a basis for a lawsuit in

   19 American courts—such as physical harm, monetary harm, or various intangible

   20 harms including [] reputational harm.”).

   21        Moreover, despite the FTC’s claim to the contrary, Wells Fargo’s injury can
   22 be redressed by this Court by vacating the order permitting the Receiver to engage

   23 counsel and pursue litigation against Wells Fargo. The FTC’s argument assumes it

   24 can recover ROSCA damages without charging Section 19, without establishing

   25 ROSCA rule violations, and in gross excess of the permissible recovery. See Section

   26 II.D. These are issues that appropriately should be resolved by this Court. Indeed,

   27 Wells Fargo is barred by the collateral attack doctrine from challenging this Court’s

   28 order and the FTC’s arguments in another case and denial to intervene here thereby
                                             16
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    1 impermissibly extinguishes Wells Fargo’s due process rights. See Section II.B.ii,

    2 supra. Wells Fargo’s injury— the Receiver’s authority to pursue litigation against it

    3 under an invalidated legal principle—can be redressed only by an order from this

    4 Court vacating the order empowering the Receiver to seek monetary damages

    5 against Wells Fargo. Accordingly, Wells Fargo has adequately established Article

    6 III standing to intervene in this case.

    7               (4)    Wells Fargo Has Adequately Established That Its Interests Will
    8
                           Be Impaired by Disposition of This Case

    9        Looking at the third factor, Wells Fargo can only protect its interest through
   10 intervention. The FTC and Receiver claim Wells Fargo can make these arguments in

   11 the Wells Fargo Litigation. Rec. Opp. at 28; FTC Opp. at 21. Doing so, however,

   12 would run afoul of the collateral attack doctrine which “precludes litigants from

   13 collaterally attacking the judgments of other courts.” Rein v. Providian Fin. Corp.,

   14 270 F.3d 895, 902 (9th Cir. 2001) (citing Celotex Corp. v. Edwards, 514 U.S. 300,

   15 313 (1995)). The United States Supreme Court made clear: “[I]t is for the court of

   16 first instance to determine the question of the validity of the law, and until its

   17 decision is reversed for error by orderly review, either by itself or by a higher court,

   18 its orders based on its discretion are to be respected.” Celotex, 514 U.S. at 313

   19 (quoting Walker v. Birmingham, 388 U.S. 307, 314 (1967) (quotations omitted).

   20        The FTC also claims Wells Fargo cannot meet this factor because this case is
   21 closed and there is no “future disposition” that could affect Wells Fargo and the

   22 Corporate Defendants could still sue Wells Fargo. FTC Opp. at 20-21. But the

   23 Receiver is relying upon this Court’s order to bring the Wells Fargo Litigation—the

   24 future disposition is when the Court revokes that authority. The Corporate

   25 Defendants’ ability to bring the same or similar claims against Wells Fargo is of no

   26 moment—the FTC’s position that some entity could later attempt to sue Wells Fargo

   27 (on what grounds is unclear) is not a reason why this Court should continue to

   28 enforce an unlawful order. Absent intervention, the status quo will remain and the
                                               17
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    1 Receiver, despite being empowered based on an invalidated avenue for recovery of

    2 monetary damages under Section 13(b), will remain unchecked in his now unlawful

    3 efforts to secure redress under Section 13(b).

    4        C.     Wells Fargo Has Met Its Burden for Permissive Intervention
    5        Wells Fargo satisfies the three elements of permissive intervention as well
    6 since: (1) this motion is timely; (2) common questions of law or fact shared with the

    7 main action exists; and (3) an independent basis for the court to exercise jurisdiction

    8 over its claims is present. Fed. R. Civ. P. 24(b).

    9        As to the first requirement, the motion is timely for the same reasons set forth
   10 above. Infra Section III.C. Specifically, Wells Fargo acted quickly to intervene once

   11 the Receiver brought its action against Wells Fargo in July 2021.

   12        The FTC and the Receiver correctly point out that the timeliness element for
   13 permissive intervention is analyzed “more strictly than…with intervention as of

   14 right.” Receiver Opp. at 24; FTC Opp. at 23-24. This includes, in addition to the

   15 three permissive intervention factors, “judicial economy concerns regarding the

   16 multiplication of proceedings.” Receiver Opp. at 24. The Receiver reasons that

   17 “Wells Fargo already has a forum to raise these issues: the Receiver’s case against

   18 it” and that intervention would result in a “multiplication of proceedings” thereby

   19 burdening this Court. Id. This is simply not so. As set forth above, Wells Fargo

   20 could not raise these issues in the Receiver’s action against it as doing so would

   21 amount to a collateral attack. Further still, permitting Wells Fargo to intervene in

   22 this case would not burden this Court because this case is still administratively open

   23 for the purpose of determining the Receiver’s authority to prospectively seek

   24 recovery of a monetary judgment against Wells Fargo following the decision in

   25 AMG Capital.

   26        The FTC argues Wells Fargo offers “no reason for waiting 4-7 months to
   27 intervene under its theory of timeliness, and no adequate one for the 24 months

   28
                                                 18
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    1 since the Receiver moved to sue Wells Fargo.” FTC Opp. at 24. As discussed above,

    2 Wells Fargo did not unreasonably delay moving to intervene. Specifically, it

    3 required time to meet and confer and assess the strengths of its intervention

    4 arguments. In August 2021, Wells Fargo conferred with the FTC and the Receiver

    5 about its plans to intervene in this action to challenge the order authorizing the

    6 Receiver to sue Wells Fargo. Dkt 168-1 at ¶ 8. Following the meet and confer

    7 process, Wells Fargo thoughtfully assessed the arguments advanced during the meet

    8 and confer and narrowed its request to seek redress of the order permitting the

    9 Receiver to engage contingency counsel and pursue litigation against Wells Fargo.

   10        Wells Fargo also easily satisfies the second requirement given the multitude
   11 of common issue and facts. See Mot. at 21, n.11. Indeed, the Receiver conceded this

   12 in filing his notice of related case with the Complaint in the Wells Fargo Litigation.

   13 Notice of Related Case in Wells Fargo Litigation, RJN, Ex. D at 2 (Receiver “brings

   14 this action against the Defendants for conduct arising out of the same underlying

   15 facts at issue in the foregoing lawsuits, including, inter alia, Defendants alleged

   16 aiding and abetting of the fraudulent schemes at issue therein.”). Further, a finding

   17 on this same issue was made in assigning the Wells Fargo Litigation to this Court on

   18 the basis of common fact and legal questions. Id., RJN, Ex. D at 2. Indeed, neither

   19 the FTC nor the Receiver contest this point. See generally FTC Opp.; Rec. Opp.

   20        As to the third requirement, allowing Wells Fargo to intervene will not
   21 unnecessarily expand this Court’s jurisdiction as this Court expressly retained

   22 jurisdiction over the Receivership and motions relating to its prior orders and

   23 judgments.

   24 III.   CONCLUSION
   25        For the foregoing reasons, and the reasons included in the Motion to Intervene
   26 and supporting papers, this Court should grant Wells Fargo’s motion for

   27 intervention.

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        PROPOSED INTERVENORS WELLS FARGO & COMPANY AND WELLS FARGO BANK N.A.’S OMNIBUS
                          REPLY IN SUPPORT OF ITS MOTION TO INTERVENE
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        DATED: January 10, 2022            Respectfully submitted,

    3                                      MCGUIREWOODS LLP
    4

    5                                       /s/ Alicia A. Baiardo
    6                                      David C. Powell, Esq.
                                           Kevin M. Lally, Esq.
    7                                      Alicia A. Baiardo, Esq.
    8
                                           Counsel for Proposed Intervenors
    9                                      Wells Fargo & Company and Wells Fargo
                                           Bank, N.A.
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Case 3:18-cv-01388-LAB-WVG Document 172 Filed 01/10/22 PageID.3569 Page 26 of 26




    1                           CERTIFICATE OF SERVICE
    2        I hereby certify that on January 10, 2022, I electronically filed the foregoing
    3 document entitled with the Clerk of the Court for the United States District Court,

    4 Southern District of California using the CM/ECF system and served a copy of same

    5 upon all counsel of record via the Court’s electronic filing system. Any counsel of

    6 record who has not consented to or registered for electronic service through the

    7 Court’s CM/ECF system will be served by electronic mail, first class mail, facsimile,

    8 and/or overnight delivery.

    9

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                                                   By: /s/ Alicia A. Baiardo
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                                                          Alicia A. Baiardo
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                                   CERTIFICATE OF SERVICE
